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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     WESTERN DIVISION


UNITED STATES OF AMERICA

         vs                               4:08CR00352-06 JLH

COREY HUGHES a/k/a SHARPEY


                                    ORDER Re: General Order 541

         Pending is an oral request for Order Re: General Order No. 54 filed by the Defendant. The

request is GRANTED. All lawyers and staff affiliated with this case are authorized to bring cell

phones, laptop computers, or personal digital assistants into the courthouse, subject to the following

rules:

         (a)       The devices mentioned above may not be used to record, photograph, or film anyone
                   or anything inside the courthouse.

         (b)       Cell phones must be turned off and put away when in the courtroom.

         (c)       Wireless internet components of electronic devices must be deactivated when in
                   district courtrooms.

         (d)       Before persons with electronic devices are granted entry into the Courthouse, all
                   devices must be examined by the United States Marshals Service or Court Security
                   Personnel. This examination includes, but is not limited to placing the device
                   through electronic screening machines and requiring the person possessing the device
                   to turn the power to the device off and on.

         (e)       The United States Marshals Service may further restrict electronic devices from
                   entering the building should a threat assessment so dictate.

         A violation of paragraph (a), (b), or (c) may result in seizure of the electronic device,

withdrawal of the privilege to bring an electronic device into the courthouse, or other sanctions. A



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             Adopted in the Eastern District of Arkansas.
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violation of the prohibition on recording, photographing, or filming anyone or anything inside the

courthouse may be punished as contempt of court.

       IT IS SO ORDERED this 15th day of April, 2009.




                                                     UNITED STATES MAGISTRATE JUDGE




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